                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

Kristina Oliver, individually and on      )
behalf of all others similarly situated   )       Case No. 1:16-cv-05177
                                          )
              Plaintiff,                  )       MEMORANDUM IN SUPPORT OF
                                          )       DEFENDANTS TTC-AMERIDIAL, LLC
vs.                                       )       AND AMERDIAL, INC.’S MOTION
                                          )       FOR SUMMARY JUDGMENT
TTC-AMERIDIAL, LLC, and                   )
AMERIDIAL, INC.                           )
                                          )
              Defendants.                 )




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I.        INTRODUCTION

          In ruling on this motion for summary judgment, this Court need address only the following

issues:

(1)       A plaintiff must satisfy both constitutional and prudential standing before seeking
          redress in federal court. Has Kristina Oliver (“Oliver”) suffered an injury-in-fact
          under Article III of the Constitution to demonstrate constitutional standing? Are
          her interests within the zone of interests intended to be protected by the Telephone
          Consumer Protection Act (“TCPA”) to satisfy prudential standing?

(2)       The TCPA allows telemarketing calls to a person’s cell phone with prior express
          written consent. TTC-Ameridial, LLC (“TTC-Ameridial”) made telemarketing
          calls to Oliver after she provided her prior express written consent. Should this
          Court dismiss Oliver’s claim for violations of the TCPA?

(3)       While Ameridial, Inc. (“Ameridial”) did not make the telemarketing calls, Oliver
          alleges Ameridial is still liable based on its relationship to TTC-Ameridial. Should
          this Court dismiss Ameridial because Oliver fails to provide evidence sufficient to
          find Ameridial liable for the alleged unlawful actions of TTC-Ameridial?

          On the first issue, Oliver lacks constitutional and prudential standing because she alleges

nothing more than a bare procedural violation of the TCPA, divorced from any concrete harm.

Nor can she satisfy the injury-in-fact requirement of Article III. The TCPA was never intended to

allow damages to plaintiffs who request telemarketing calls, like Oliver requested from TTC-

Ameridial. As such, Oliver’s interests are not within the zone of interests intended to be protected

by the statute.

          This Court should also dismiss Oliver’s claim because TTC-Ameridial only made calls to

Oliver after she provided her prior express written consent in compliance with the TCPA. See 47

U.S.C. § 227(b)(1)(A)(iii).

          Finally, this Court should dismiss the case against Ameridial because Ameridial cannot be

held liable for the telemarketing calls made by TTC-Ameridial. Oliver impermissibly lumps

Defendants together, fails to allege facts specific to Ameridial, provides no evidence to suggest



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there was an agency relationship between TTC-Ameridial and Ameridial, and fails to show that

Ameridial should be liable for TTC-Ameridial’s corporate actions.

       As there is no genuine dispute of material fact, Defendants are entitled to judgment as a

matter of law.

II.    SUMMARY OF THE CASE

       Oliver alleges Defendants violated the TCPA by making unsolicited telemarketing calls to

her and putative class members’ cell phones. Dkt. No. 1, ¶¶ 36-39, 42-45. She claims these calls

were made with an automatic telephone dialing system (“ATDS”) or an artificial or prerecorded

voice without her prior express written consent. Id. Oliver alleges she never provided Defendants

with consent to call her and never had prior dealings or relationship with them. Id. at ¶¶ 16, 26.

But TTC-Ameridial only made calls to Oliver after she opted-in on March 25, 2016 at

http://collegeprograms.co and provided her prior express written consent to receive calls. Dkt. No.

5, ¶¶ 16, 26. Ameridial has never made any calls to Oliver or putative class members. Def.

Ameridial’s Resp. to Pl.’s First Set of Interrogs. Nos. 1, 7, attached hereto as Exhibit A.

III.   STATEMENT OF FACTS

       1.        TTC-Ameridial is an Ohio Limited Liability Company formed on August 11, 2014.

See Articles of Organization of TTC-Ameridial, attached hereto as Exhibit B.

       2.        TTC-Ameridial provides telemarketing and lead generation services for education-

related businesses and makes telephone calls on their behalf. Dkt. No. 5, ¶ 2.

       3.        Ameridial is an Ohio corporation incorporated on July 6, 1987. See Articles of

Incorporation of Ameridial, attached hereto as Exhibit C.

       4.        Ameridial does not provide telemarketing or lead generation services for education-

related businesses. See Dkt. No. 5.



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       5.      Kristina Oliver is a student at the University of New Orleans. Kristina Oliver Dep.

11:22-23, attached hereto as Exhibit D.

       6.      Oliver opted-in to receive telemarketing calls from TTC-Ameridial on March 25,

2016, at http://collegeprograms.co using IP address 98.163.223.58. Affidavit of Ken Webb, ¶ 9,

(TTC-Ameridial Oliver 0001-0003), attached hereto as Exhibit E.

       7.      Oliver admits she provided the following information at http://collegeprograms.co:

               Kristina Oliver
               kristina-oliver@hotmail.com
               720-940-4309
               112 Holy Cross Place
               Kenner, LA 70065

Exhibit D, 83:9—84:21.

       8.      Oliver checked a box and clicked “submit” in immediate proximity to the specific

consent language at http://collegeprograms.co, as follows:

       By checking this box, I expressly agree to receive marketing phone calls, text or
       SMS messages, or emails, from online-edu-help.com or *Marketing Partners at any
       phone number I provide, even if the number is a wireless number or on any federal
       or state do-not-call-list. I understand that such calls may be placed using automatic
       dialing equipment or pre-recorded messages, and that I am not required to check
       this box to purchase any goods or services.

Exhibit E, ¶¶ 7-8.

       9.      Oliver expressly agreed to receive telemarketing calls on her cell phone from

online-edu-help.com or its marketing partners. Exhibit D, 87:1-14.

       10.     After providing her information at http://collegeprograms.co, Oliver expected to

get calls about furthering her education. Id. at 105:18-24.

       11.     Oliver “want[ed] some more information about college, since [she’s] graduating so

soon.” Id. at 16:15-17.




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       12.      Oliver alleges she received eight calls from Defendants. Pl.’s Resp. to Defs.’ First

Set of Interrogs. No. 1, attached hereto as Exhibit F.

       13.      Oliver believes she received calls from TTC-Ameridial and Ameridial, but she

never spoke to anyone. Exhibit D, 22:12-20.

       14.      The caller ID on Oliver’s cell phone did not display the names of either TTC-

Ameridial or Ameridial. Id. at 22:21-23.

       15.      Oliver did not receive any voicemail messages from the eight alleged calls. Id. at

108:11—111:2.

       16.      The calls did not cost Oliver any money. Id. at 52:11-12.

       17.      The calls did not take time away from her work. Id. at 52:13-15.

       18.      Oliver says she is not seeking damages. Id. at 44:17-19.

       19.      Ameridial has never made any calls to Oliver or putative class members. Exhibit

A, Nos. 1, 7.

       20.      Ameridial has never directly participated in, directed, authorized, or ratified any

calls made by TTC-Ameridial. Dkt. No. 5, ¶ 9.

       21.      Ameridial has never received any benefits from or approved of any calls made by

TTC-Ameridial. Id.

       22.      Ameridial has never established or approved TTC-Ameridial’s policies and

practices, overseen operations, or been directly involved in its business practices. Id.

       23.      Third party TTC-Marketing Solutions, Inc. assigned all of its assets, including the

d/b/a online-edu-help.com to TTC-Ameridial on September 29, 2014. See Assignment and Bill of

Sale (TTC-Ameridial Oliver 0114-0122), attached hereto as Exhibit G.




                                                 9
       24.     TTC-Ameridial purchased all assets of TTC-Marketing Solutions, Inc. on

September 30, 2014, including the d/b/a online-edu-help.com. See Asset Purchase Agreement

(TTC-Ameridial Oliver 0084-0101), attached hereto as Exhibit H; Mary Shanley Dep. 47:13-16,

attached hereto as Exhibit I.

       25.     TTC-Ameridial filed a d/b/a application for online edu help with the State of Illinois

on September 3, 2015. Application to Adopt, Change, Cancel or Renew an Assumed Name (TTC-

Ameridial Oliver 0102), attached hereto as Exhibit J.

       26.     Online-edu-help.com is a d/b/a of TTC-Ameridial. Def. TTC-Ameridial’s Resp. to

Pl.’s First Set of Interrogs. No. 2, attached hereto as Exhibit K; Exhibit I, 47:13-16.

       27.     Online EDU help is an assumed name of TTC-Ameridial. Exhibit I, 47:1-3.

       28.     The State of Illinois’ website shows online edu help is an active d/b/a for TTC-

Ameridial as of November 11, 2016. LLC File Detail Report (TTC-Ameridial Oliver 0103-0104),

attached hereto as Exhibit L.

       29.     TTC-Ameridial uses Online EDU Help and online-edu-help.com interchangeably.

Exhibit I, 68:7-10.

IV.    STANDARD OF REVIEW

       Summary judgment is appropriate when the pleadings, depositions, answers to

interrogatories, and admissions on file, together with affidavits, if any, show that “there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a).

       A fact is “material” if proof of its existence or non-existence would affect the disposition of

the case under the applicable law. Anderson v. Liberty Lobby Inc., 477 U.S. 242, 248-49 (1986).

A genuine issue of material fact exists when “the evidence is such that a reasonable jury could



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return a verdict for the nonmoving party.” Weissmann v. Carroll, No. 02-cv-04303, 2004 U.S.

Dist. LEXIS 5370, at *5-6 (N.D. Ill. Mar. 31, 2004) (citing Anderson, 477 U.S. at 248).

       The party seeking summary judgment bears the initial burden of demonstrating to the

district court that there is no genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986). The court must construe all inferences and ambiguities against the movant and in

favor of the non-moving party. United States v. Diebold, Inc., 369 U.S. 654, 655 (1962). But “the

mere existence of some alleged factual dispute between the parties will not defeat an otherwise

properly supported motion for summary judgment; the requirement is that there be

no genuine issue of material fact.” Anderson, 477 U.S. at 247-48.

IV.    ARGUMENT

       A.      Defendants are entitled to summary judgment because Oliver lacks standing
               and this Court lacks subject-matter jurisdiction.

               1.      Oliver lacks constitutional standing as she has not suffered an injury-
                       in-fact as required by Article III.

       Article III requires that a plaintiff must have suffered an injury-in-fact (1) that is “concrete

and particularized” and “actual or imminent,” and not merely “conjectural or hypothetical”; (2)

that is fairly traceable to the challenged conduct of the defendant; and (3) that is likely, “as opposed

to merely speculative,” that a favorable decision by the court will redress the injury for a plaintiff

to have standing to bring suit. Mainstreet Org. of Realtors v. Calumet City, 505 F.3d 742, 751

(7th Cir. 2007) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)). The plaintiff

bears the burden of establishing constitutional standing. Id.

       For an injury to be particularized, it must affect the plaintiff in a personal and individual

way. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016). The injury-in-fact must also be

“concrete” and “real,” and “not abstract.” Id. at 1555-56. A plaintiff does not automatically satisfy



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the injury-in-fact requirement whenever a statute grants a person a statutory right and purports to

authorize that person to sue to vindicate that right. Id. at 1549.

               2.      Oliver has provided no evidence of a violation of her privacy interests,
                       and therefore an injury-in-fact, from receipt of the calls she requested
                       from TTC-Ameridial.

       In Stoops v. Wells Fargo Bank, N.A., 2016 U.S. Dist. LEXIS 82380 (W.D. Pa. June 24,

2016), the court relied heavily on the history and purpose of the TCPA and held that a class action

plaintiff lacked Article III standing to assert her claim because she was not a member of the class

that the TCPA was designed to protect and did not suffer the type of harm that the TCPA was

designed to prevent. Id. at *25-27 (citing In re Rules and Regulations Implementing the Tel.

Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7979-80 (July 10, 2015)).

       It noted that district courts had previously held that “a plaintiff demonstrates a violation of

privacy interests, and therefore an injury-in-fact, after receiving automated calls,” but the facts and

circumstances showed that Wells Fargo Bank’s call did not adversely affect Stoop’s privacy rights

the TCPA intended to protect. Id. at *34. Because the plaintiff admitted that her purpose in using

the cell phones was to file TCPA lawsuits, the calls did not constitute “the nuisance, invasion of

privacy, cost, and inconvenience from which Congress intended to protect consumers.” Id.

       Relying on Stoops, the Northern District of Illinois has similarly agreed that not all TCPA

class action plaintiffs suffer an injury-in-fact or are within the zone of interests protected by the

statute. See Tel. Sci. Corp. v. Asset Recovery Sols., LLC, No. 15-cv-05182, 2016 U.S. Dist. LEXIS

104234 (N.D. Ill. Aug. 8, 2016) (dismissing with prejudice, as plaintiff lacked statutory standing

as it failed to allege an interest with which the TCPA is concerned—privacy invasion, nuisance,

public safety threat, and/or the shifting of costs based on unwelcome robocalls).




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       This Court must also reject Oliver’s argument that she suffered an injury-in-fact, because

her privacy interests were not violated as alleged in the complaint. See Dkt. No. 1, ¶ 4. Oliver is

not a member of any class that the TCPA was designed to protect and she did not suffer the type

of harm that the TCPA was designed to prevent. The TCPA intended to protect consumers from

unsolicited telemarketing calls, but Oliver admits in her deposition that she expressly agreed to

receive telemarketing calls, expected to receive the calls and wanted the calls. Exhibit D, 87:1-

14; 105:18-24; 16:15-17. She also admits the calls did not cost her any money or take away from

her work. Id. at 52:11-12; 52:13-15.

       Accordingly, Oliver has provided no evidence of a violation of her privacy interests, and

therefore an injury-in-fact, from her receipt of solicited calls from TTC-Ameridial. See Winner v.

Kohl’s Dep’t Stores, Inc., No. 16-cv-01541, 2017 U.S. Dist. LEXIS 131225, at *18 (E.D. Pa. Aug.

17, 2017) (“Because they consented to receiving the texts, Plaintiffs can show no concrete and

particularized injury-in-fact and thus have not established that they have standing to pursue the

claims asserted ….”). Thus, Oliver has failed to meet her burden of establishing constitutional

standing under the TCPA.

               3.     Oliver has provided no evidence that she has suffered actual damages
                      from receipt of the calls she requested from TTC-Ameridial.

       Oliver admits multiple times during her deposition that she has not suffered damages from

the calls she requested and subsequently received from TTC-Ameridial:

       Q:      Were you injured by that call?
       A:      No.
       Q:      Were you injured by the second call?
       A:      No.

Exhibit D, 20:25—21:3.

       Q:      So how are you actually harmed by those calls? You weren’t, I mean, cut --
       A:      No.

                                                13
        Q:      -- or bruised or anything?
        A:      No, I was not.
        Q:      Did it cost you any money?
        A:      No.
        Q:      Did you take time from your work to have to talk to the people on the phone?
        A:      No.
        Q:      Okay. What actual harm are you alleging that you received?
        A:      Just that I believe that the company could have done better in contacting me instead
                of them repeatedly having calls. They could have just called me and if I didn't
                answer then leave a voice mail with a call back number or an email where I can
                contact them.

Id. at 52:6-23. Nor is Oliver seeking damages in this case:

        Q:      What amount of damages are you seeking, in this case?
        A:      No damages.

Id. at 44:17-19.

        Oliver has failed to provide any evidence to support her allegation that she suffered actual

damages. She admits that she has not been injured by the calls she requested and received from

TTC-Ameridial. She admits she intends to make no claim for damages. As a result, this case

should be dismissed for lack of constitutional standing.

                4.      Oliver’s alleged damages are de minimis and too generalized to
                        establish an injury-in-fact as required by Article III.

        Oliver may argue that she has constitutional standing under Article III because she has

suffered generalized damages, as the calls were a “nuisance” that “distracted” her from her studies.

See Exhibit D, 114:1-13.       But case law establishes that minimal generalized damages are

insufficient to establish an injury-in-fact.

        For example, in Romero v. Dep’t Stores Nat’l Bank, 199 F. Supp. 3d 1256 (S.D. Cal. 2016),

the court held that the plaintiff lacked Article III standing in a TCPA case concerning 290

calls to her cell phone, only three of which she answered, because “Congress’s finding that the

proliferation of unwanted calls from telemarketers causes harm does not mean that the receipt



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of one telephone call that was dialed using an ATDS results in concrete harm.” Id. at *5. See

Smith v. Aitima Med. Equip., Inc., No. 16-cv-00339, 2016 U.S. Dist. LEXIS 113671, at *4 (C.D.

Cal. July 29, 2016) (“Any depletion of Plaintiff’s battery, or aggravation and nuisance, resulting

from only one call … is too de minimis to satisfy the standing doctrine’s core aim of improving

judicial decision-making by ensuring that there is a specific controversy before the court ….”).

See also Supply Pro Sorbents, LLC v. RingCentral, Inc., No. 16-cv-02113, 2016 U.S. Dist.

LEXIS 140033, at *8 (N.D. Cal. Oct. 7, 2016).

       Similarly, the receipt of these requested calls did not result in concrete harm to Oliver and

are too de minimis to satisfy the standing doctrine’s core aim to ensure there is a specific

controversy before the court. While Oliver alleges she received eight calls from Defendants, she

never spoke to anyone. Exhibit F, No. 1; Exhibit D, 22:12-20. Nor did she receive any voicemail

messages from the eight alleged calls. Exhibit D, 108:11—111:2. Indeed, Oliver has provided no

evidence that the eight unidentified calls were from Defendants at all. And unlike the plaintiffs in

Romero and Smith who received unsolicited calls, Oliver expressly agreed to receive telemarketing

calls, expected to receive the calls and wanted the calls. Id. at 87:1-14; 105:18-24; 16:15-17.

When asked during her deposition about the harms she has suffered, Oliver admitted the calls did

not cost her any money or take away from her work. Id. at 52:11-12; 52:13-15. She could not

allege any harms and could only say that she believed the company could have done a better job

contacting her. Id. at 52:18-23. The record establishes that Oliver did not suffer an injury-in-fact

sufficient to support Article III standing. On this basis alone, Defendants are entitled to summary

judgment.

       Even if Oliver has suffered an injury-in-fact, she does not satisfy the prudential component

required by the doctrine of standing. Valley Forge Christian Coll. v. Ams. United for Separation



                                                15
of Church & State, 454 U.S. 464, 474 (1982). Prudential standing requires that a plaintiff’s

grievance fall within the zone of interests the statute or constitutional guarantee protects or

regulates. Bensman v. United States Forest Serv., 408 F.3d 945, 963 n.23 (7th Cir. 2005) (citing

Bennett v. Spear, 520 U.S. 154, 162 (1997)). The “zone of interest” test “denies a right of review

if a plaintiff’s interests are so marginally related to or inconsistent with the purposes implicit in

the statute that it cannot be reasonably assumed that Congress intended to permit the suit.” AFGE,

Local 2119 v. Cohen, 171 F.3d 460, 469 (7th Cir. 1999) (citing Clarke v. Securities Industry

Assn., 479 U.S. 388, 399 (1987)).

       In Stoops, the court held that the plaintiff’s interests were not among the sort the TCPA

was specifically designed to protect, because the plaintiff purchased multiple cell phone numbers

with the intent of filing TCPA lawsuits. Finding this “got ya” activity beyond any legitimate

protection, the court stated:

       Indeed, it is unfathomable that Congress considered a consumer who files TCPA
       actions as a business when it enacted the TCPA as a result of its “outrage over the
       proliferation of prerecorded telemarketing calls to private residences, which
       consumers regarded as an intrusive invasion of privacy and a nuisance.” Because
       Plaintiff does not have “the sort of interest in privacy, peace, and quiet that
       Congress intended to protect,” the Court finds that she has failed to establish that
       the injury she complains of “falls within the zone of interests sought to be protected
       by the statutory provision whose violation forms the legal basis for [her]
       complaint,” ….

Stoops, 2016 U.S. Dist. LEXIS 82380 at *47-48 (internal citations omitted). See also Cellco

P’ship v. Plaza Resorts Inc., No. 12-cv-81238, 2013 U.S. Dist. LEXIS 139337, at *17, 23 (S.D.

Fla. Sept. 27, 2013) (holding that the plaintiffs did not fall within the zone of interests protected

by the TCPA because “they attempt[ed] to use the statute in a way not intended or contemplated

by Congress” and because “[t]heir damages are not of the vexatious and intrusive nuisance nature

sought to be redressed by Congress in enacting the TCPA”).



                                                 16
       Like the plaintiff in Stoops, Oliver’s interests are not within the zone of interests intended

to be protected by the TCPA. The TCPA intended to protect consumers from unsolicited

telemarketing calls, but Oliver admits in her deposition that she expressly agreed to receive

telemarketing calls, expected to receive the calls and wanted the calls. Exhibit D, 87:1-14; 105:18-

24; 16:15-17. She also admits the calls did not cost her any money or take away from her work.

Id. at 52:11-12; 52:13-15. TTC-Ameridial’s reasonable business response to Oliver, a consumer

who requested information on educational opportunities—and its attempt to speak with her about

those educational opportunities—did not infringe upon any legitimate privacy interest of Oliver.

Neither Congress nor this Court could consider such calls of the “vexatious and intrusive nature”

subject to redress by the TCPA.

       This conduct does not invoke “the sort of interest in privacy, peace, and quiet that Congress

intended to protect” and fails to establish an injury that falls within the zone of interests protected

by the TCPA. Because Oliver lacks constitutional and prudential standing, there is no genuine

dispute as to any material fact and Defendants are entitled to judgment as a matter of law.

       B.        Defendants are entitled to summary judgment because TTC-Ameridial
                 complied with TCPA requirements to make telemarketing calls.

                 1.    History of the TCPA

       Congress passed the TCPA in 1991 to protect consumers from invasions of privacy caused

by unsolicited telephone calls or faxes. See Pub. L. No. 102-243, 105 Stat. 2394 (codified at 47

U.S.C. § 227).

       The TCPA prohibits making “any call (other than a call made for emergency purposes or

made with the prior express consent of the called party) using any automatic telephone dialing

system … to any telephone number assigned to a … cellular telephone ….” 47 U.S.C. §

227(b)(1)(A)(iii).

                                                  17
         In 2012, the Federal Communications Commission (“FCC”) revised the TCPA with respect

to certain advertisement or telemarketing calls made to cell phones.                         See In re Rules and

Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 FCC Rcd 1830, 1841 (Feb. 15,

2012); 47 C.F.R. § 64.1200(a)(2).

         Effective October 16, 2013, the FCC introduced a heightened prior express written consent

requirement for calls using an ATDS made to a cell phone that include or introduce an

advertisement or constitute telemarketing. See 47 C.F.R. § 64.1200(a)(2). The statute defines

“advertisement” as “any material advertising the commercial availability or quality of any

property, goods, or services.” Id. at (f)(1). “Telemarketing” means “the initiation of a telephone

call or message for the purpose of encouraging the purchase or rental of, or investment in, property,

goods, or services, which is transmitted to any person.” Id. at (f)(12).

         Prior express written consent consists of the following elements:

            Signature of the person called (can be in electronic or digital form)1;
            Telephone number to which the signature authorizes calls;
            Clear and conspicuous disclosure informing the person that the agreement
             authorizes the seller to call;
            Using an automatic telephone dialing system or an artificial or prerecorded
             voice; and
            Statement that the person is not required to sign the agreement as a condition
             of purchasing property, goods, or services.

47 C.F.R. § 64.1200(f)(8).

         TTC-Ameridial does not dispute that it made telemarketing calls to Oliver, but clarifies

that it only did so after she provided TTC-Ameridial her prior express written consent.




1
 “The E-SIGN Act defines an ‘electronic signature’ as ‘an electronic sound, symbol, or process attached to or logically
associated with a contract or other record and executed or adopted by a person with the intent to sign the record.’ 15
U.S.C. § 7006(5). The Act further defines an ‘electronic record’ as ‘a contract or other record created, generated, sent,
communicated, received, or stored by electronic means.’ 15 U.S.C. § 7006(4).” 73 Fed. Reg. 51164, 51181, n. 218
(Aug. 29, 2008).

                                                          18
               2.      TTC-Ameridial only made telemarketing calls to Oliver after she
                       provided her prior express written consent, in compliance with the
                       TCPA.

       Oliver admits she expressly agreed to receive telemarketing calls on her cell phone from

online-edu-help.com or its marketing partners and expected to get calls about furthering her

education.   Exhibit D, 87:1-14, 105:18-24.       In doing so, Oliver provided her contact and

educational information, voluntarily checked a box, and clicked “submit” in immediate proximity

to the following consent language:

       By checking this box, I expressly agree to receive marketing phone calls, text or
       SMS messages, or emails, from online-edu-help.com or *Marketing Partners at any
       phone number I provide, even if the number is a wireless number or on any federal
       or state do-not-call-list. I understand that such calls may be placed using automatic
       dialing equipment or pre-recorded messages, and that I am not required to check
       this box to purchase any goods or services.

Exhibit E, ¶¶ 7-8.

       TTC-Ameridial’s consent language undeniably complies with the TCPA prior express

written consent requirements, 47 C.F.R. § 64.1200(f)(8), as it includes: (1) signature of the person

called2 (checking the box, i.e. the “process attached to or logically associated with a contract or

other record and executed or adopted by a person with the intent to sign the record”, 15 U.S.C. §

7006(5)); (2) telephone number to which the signature authorizes calls (Oliver provided her cell

phone number and acknowledged to receive contact “at any number I provide”); (3) a clear and

conspicuous disclosure that the agreement authorizes the seller to call (“I expressly agree to receive

marketing phone calls, text or SMS messages, or emails, from online-edu-help.com or *Marketing

Partners”); (4) using an automatic telephone dialing system or an artificial or prerecorded voice



2
  See Winner, U.S. Dist. LEXIS 131225 at *21 (“We conclude that the stipulated facts also
establish that Winner ‘signed’ the express written consent agreement in a manner permissible
under the E-Sign Act. Winner’s texting ‘SAVE30’ constituted her electronic signature
affirmatively consenting to such use ….”).
                                                 19
(“I understand that such calls may be placed using automatic dialing equipment or pre-recorded

messages”); and (5) statement that the person is not required to sign the agreement as a condition

of purchasing property, goods, or services (“I understand … I am not required to check this box to

purchase any goods or services”). Exhibit E, ¶¶ 7-8.

       Because TTC-Ameridial’s consent language complies with the TCPA prior express written

consent requirement, Oliver may alternatively argue that while she consented to receive calls from

“online-edu-help.com and *Marketing Partners”, she did not provide consent to receive calls from

TTC-Ameridial. While Oliver is correct that consent is non-transferable from one seller to another,

see Satterfield v. Simon & Schuster, 569 F.3d 946, 955 (9th Cir. 2009), TTC-Ameridial is not a

different seller or company. The record establishes that online-edu-help.com is a d/b/a of TTC-

Ameridial. Exhibit K, No. 2; Exhibit I, 47:13-16. Specifically, TTC-Ameridial purchased all

assets of third party TTC-Marketing Solutions, Inc. on September 30, 2014, including the d/b/a

online-edu-help.com. See Exhibit H; Exhibit I, 47:13-16. The Assignment and Bill of Sale further

confirms that TTC-Marketing Solutions, Inc. assigned all of its assets, including the d/b/a online-

edu-help.com to TTC-Ameridial on September 29, 2014. See Exhibit G. And more than six

months before the alleged calls to Oliver, TTC-Ameridial filed a d/b/a application for Online Edu

Help with the State of Illinois on September 3, 2015.3 See Exhibit J. As of November 11, 2016,

the State of Illinois’ website listed Online Edu Help as an active d/b/a for TTC-Ameridial.

See Exhibit L.




3
 TTC-Ameridial uses Online Edu Help and online-edu-help.com interchangeably. Exhibit I, 68:7-
10.

                                                20
       Even if Online Edu Help and online-edu-help.com were considered different sellers or

separate entities—which they are not—the FCC has already addressed the issue of consumers’

reasonable expectations in receiving telemarketing calls under the TCPA:

       affiliates fall within the established business relationship exemption only if the
       consumer would reasonably expect them to be included given the nature and type
       of goods or services offered and the identity of the affiliate. This definition offers
       flexibility to companies whose subsidiaries or affiliates also make telephone
       solicitations, but it is based on consumers’ reasonable expectations of which
       companies will call them.

68 Fed. Reg. 44144, 44159 (July 25, 2003). A reasonable consumer would undoubtedly expect to

receive a telemarketing call from Online Edu Help by requesting to receive telemarketing calls

from online-edu-help.com. Oliver even said so herself. Exhibit D, 105:18-24.

       It is undisputed that (1) Oliver provided her prior express written consent to receive

telemarketing calls from online-edu-help.com and its marketing partners, (2) online-edu-help.com

is a d/b/a of TTC-Ameridial, and (3) Oliver alleges she received calls from TTC-Ameridial on her

cell phone. It is clear there was no intent to defraud by TTC-Ameridial and the mere difference in

spacing and punctuation does not change the fact that online-edu-help.com is a d/b/a of TTC-

Ameridial. Because TTC-Ameridial and online-edu-help.com are the same entity, TTC-Ameridial

had the authority to call Oliver. To argue that Oliver’s prior express written consent is invalid

because TTC-Ameridial uses Online Edu Help and online-edu-help.com interchangeably is

baseless. The TCPA requires no such prerequisite and Oliver cannot attempt to create one.

       Defendants are entitled to summary judgment because TTC-Ameridial complied with

TCPA requirements to make telemarketing calls.

       C.      Defendants are entitled to summary judgment as to Ameridial because
               Ameridial cannot be held liable for the calls made by TTC-Ameridial.

               1.     Ameridial did not make the alleged calls and Oliver impermissibly
                      lumps Defendants together.

                                                21
        An element of a TCPA claim is that the defendant made a call. 47 U.S.C. § 227(b)(1)(A)

(“It shall be unlawful for any person within the United States … (A) to make any call ….”). See

Oliver v. DirecTV, LLC, No. 14-cv-7794, 2015 U.S. Dist. LEXIS 47964, at *6 (N.D. Ill. Apr. 13,

2015). But Ameridial did not make any calls to Oliver or putative class members. Exhibit A, Nos.

1, 7.    In order to circumvent Ameridial’s non-existent involvement, Oliver attempts to

impermissibly lump Defendants together and hold them collectively liable for the calls made by

TTC-Ameridial.

        But a plaintiff must allege facts with respect to each defendant, and any attempt to lump

defendants together in a TCPA claim should result in dismissal. Joseph v. Bernstein, 612 F. App’x

551, 555 (11th Cir. 2015) (“If the complaint indiscriminately groups the defendants together, it

fails to comply with the minimum standard of Rule 8.”); see e.g., Urban Elevator Serv., LLC v.

Stryker Lubricant Distribs., Inc., No. 15-cv-02128, 2015 U.S. Dist. LEXIS 149682, at *5 (N.D.

Ill. Nov. 4, 2015) (dismissing TCPA case where that plaintiff, just like Oliver herein, lumped all

“Defendants” together as having “sent the fax”).

        In Cellco, plaintiff alleged the defendants were distinct legal entities, but failed to explain

what theory of liability Cellco was proceeding under. 2013 U.S. Dist. LEXIS 139337 at *20.

While the complaint stated that the entities were “affiliated” and “act[ed] in concert” with each

other, the court found the statements to be too conclusory. Id. The court dismissed the TCPA

claim because “the Complaint impermissibly lumps Defendants together.” Id.

        Like Cellco, Oliver impermissibly lumps Ameridial and TTC-Ameridial together and fails

to comply with Rule 8(a). Oliver contends that Ameridial is liable for calls made by TTC-

Ameridial that allegedly violate the TCPA based on a conclusory recitation of the TCPA elements:




                                                  22
        By making the telephone calls at issue in this Complaint, Defendants caused
        Plaintiff and the members of the Class actual harm and cognizable legal injury ….

Dkt. No. 1, ¶ 4.

        Defendants utilized (and continue to utilize) a sophisticated telephone dialing
        system to call cellular telephone users en masse for the purpose of promoting their
        services, often times calling consumers on their cellular phones.

Id. at ¶ 15.

        Defendants knowingly made (and continue to make) telemarketing calls without
        the prior express consent of the call recipients and knowingly continue to call them
        after requests to stop. As such, Defendants have not only invaded the personal
        privacy of Plaintiff and members of the putative Class, they have also intentionally
        and repeatedly violated the TCPA.

Id. at ¶ 21. See also ¶¶ 3, 5, 11, 12, 16-18, 20, 25-27, 29-34, 36-40, and 42-47.

        While Rule 8(a)(2) only requires Oliver to make a short and plain statement of her claim,

the complaint’s factual allegations do not raise a right of relief above the speculative level.

Pisciotta v. Old Nat’l Bancorp, 499 F.3d 629, 633 (7th Cir. 2007) (citing Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)). Oliver does not provide sufficient factual allegations as to

how or why she believes Ameridial made calls to her cell phone. Oliver does not allege that the

caller identified as being from Ameridial. Nor could she. Oliver admits that she never spoke to

anyone. Dkt. No. 1, ¶ 23. She does not allege that the caller ID identified Ameridial or listed a

number that could be traced back to Ameridial. Id. at ¶¶ 24-25. Although Oliver alleges only that

she received calls from “unavailable” numbers and the callers hung up, she concludes that this is

sufficient to plead that Ameridial is liable for violations of the TCPA. Id.

        Because Oliver impermissibly lumps Defendants together and fails to allege facts specific

to Ameridial, Defendants’ motion for summary judgment should be granted, as there is no genuine

dispute as to any material fact and Defendants are entitled to judgment as a matter of law.




                                                 23
               2.      Oliver provides no evidence to support her theory that Ameridial is
                       liable for TTC-Ameridial’s telemarketing calls.

                       a.      Oliver has not shown this Court should pierce the corporate veil.

       A corporation is an autonomous entity “separate and distinct from its shareholders,

directors and officers, and, generally, from other corporations with which it may be

affiliated.” Van Dorn Co. v. Future Chem. & Oil Corp., 753 F.2d 565, 569 (7th Cir. 1985). This

autonomy shields parties related to a corporation from the liabilities of that corporation. Spartech

Corp. v. Opper, 890 F.2d 949, 953 (7th Cir. 1989). Courts can, however, “pierce the corporate

veil,” which prevents purveyors of fraud and injustice from hiding behind the corporate form of

organization. Alpert v. Bertsch, 601 N.E.2d 1031, 1036 (Ill. App. Ct. 1992).

       It must be observed, however, that the Court’s power to pierce the corporate veil “should

be exercised reluctantly and cautiously.” C M Corp. v. Oberer Dev. Co., 631 F.2d 536, 541 (7th

Cir. 1980). Accordingly, a party seeking this remedy has the substantial burden of showing that

the corporation is merely a sham which exists for the benefit of another dominating entity, its alter

ego. Jacobson v. Buffalo Rock Shooters Supply, Inc., 664 N.E.2d 328, 331 (Ill. App. Ct. 1996).

       Illinois courts apply a two-prong test to determine whether to pierce the corporate veil: (1)

there must be such unity of interest and ownership that the separate personalities of the corporation

and the individual or other corporation no longer exist; and (2) circumstances must be that such an

adherence to the fiction of separate corporate existence would sanction a fraud or promote

injustice. Hystro Prods., Inc. v. MNP Corp., 18 F.3d 1384, 1388-89 (7th Cir. 1994) (quoting Van

Dorn Co., 753 F.2d at 569-70). See also Sea-Land Servs., Inc. v. Pepper Source, 941 F.2d 519,

520 (7th Cir. 1991).

       With respect to the first prong, Illinois courts examine the following factors: (1) inadequate

capitalization; (2) failure to issue stock; (3) failure to observe corporate formalities; (4)

                                                 24
nonpayment of dividends; (5) insolvency of the debtor corporation at the time; (6) non-functioning

of other officers or directors; (7) absence of corporate records; and (8) whether the corporation is

a mere facade for the operation of dominant stockholders. Nw. Corp. v. Gabriel Mfg. Co., No. 95-

cv-02004, 1996 U.S. Dist. LEXIS 19275, at *32 (N.D. Ill. Dec. 10, 1996). “The court’s task is to

decide whether these factors, taken as a whole, demonstrate that the corporation is actually the

alter ego of the individual—no one factor is determinative.” Wachovia Sec., LLC v. Neuhauser,

528 F. Supp. 2d 834, 855 (N.D. Ill. 2007).

       Oliver alleges no facts that would tend to show that TTC-Ameridial used the corporate

form to perpetrate a fraud or injustice or otherwise to circumvent the law. No allegation has been

made of inadequate capitalization, failure to issue stock or observe corporate formalities,

nonpayment of dividends, insolvency of the debtor corporation, non-functioning of other officers

or directors, absence of corporate records, or whether the corporation is a mere facade for the

operation of dominant stockholders. See Dkt. No. 1.

       Oliver may argue that Ameridial is liable for the calls made by TTC-Ameridial because

Jim McGeorge is the managing partner of both companies (Exhibit I, 16:22-24). But while

common officers and directors are generally prerequisites to piercing the corporate veil, these

factors alone are not sufficient by themselves to invoke the doctrine as “such factors are common

business practice and exist in most parent and subsidiary relationships.” N. Ill. Gas Co. v. Total

Energy Leasing Corp., 502 F. Supp. 412, 417 (N.D. Ill. 1980).

       In addition to establishing sufficient unity of interest to justify piercing the corporate veil,

Oliver must allege facts sufficiently demonstrating that adherence to the corporate formalities

would promote injustice or fraud. The “promote injustice or fraud” test requires that, unless the

Court pierces the corporate veil, “some ‘wrong’ beyond the creditor’s inability to collect would



                                                 25
result.” Hystro, 18 F.3d at 1390 (citing Sea-Land, 941 F.2d at 524). For instance, “some element

of unfairness, something akin to fraud or deception or the existence of a compelling public interest

must be present in order to disregard the corporate fiction.” Pederson v. Paragon Pool Enters.,

574 N.E.2d 165, 158 (Ill. App. Ct. 1991).

        Here, Oliver has not alleged—let alone established—sufficient facts to demonstrate that

adhering to corporate formalities would promote injustice or fraud. No allegations have been made

of unfairness, fraud, or deception or the existence of a compelling public interest to pierce the

corporate veil. Thus, no evidence supports Oliver’s theory that Ameridial is liable for TTC-

Ameridial’s telemarketing calls.

        In the context of TCPA actions, courts have dismissed claims against parent companies

and holding companies because the complaint lacked specific, factual allegations that such

defendants were directly involved in the alleged telemarketing or that the subsidiary was merely

an alter ego of the parent or holding company. In Shostack v. Diller, No. 15-cv-02255, 2015 U.S.

Dist. LEXIS 123777, at *17-18 (S.D.N.Y. Sept. 16, 2015), the court dismissed the TCPA claims

against the parent company because the plaintiff did not allege that parent had “any direct

involvement with … facilitating the allegedly illegal telemarketing calls to his residence.” The

allegations also failed to satisfy “any of the elements required to pierce the corporate veil” to hold

the parent liable. Id. at *17.

        Similarly, in Zarichny v. Complete Payment Recovery Servs., 80 F. Supp. 3d 610, 617 (E.D.

Pa. 2015), the court dismissed TCPA claims against the parent company because plaintiff’s

allegations that the parent “exerts full supervisory authority over [subsidiary], is intimately

involved with the practices and procedures of [subsidiary], and, in fact, developed and

implemented the particular collection practices used by [subsidiary]” did not state a claim, where



                                                 26
there were no allegations that the parent made any phone calls in violation of the TCPA nor did

the complaint allege that the parent should be held liable under an alter ego or legal fiction theory.

       Because Oliver has provided no evidence to this Court that justifies piercing of the

corporate veil, Ameridial cannot be held liable for TTC-Ameridial’s telemarketing calls.

                       b.      Ameridial cannot be held vicariously liable for the calls made by
                               TTC-Ameridial.

       Oliver may argue that Ameridial is vicariously liable for the telemarketing calls made by

TTC-Ameridial, but this conclusion is unwarranted, because Oliver fails to provide sufficient

evidence to support this claim. Nor does she even allege facts or circumstances or provide any

evidence to plausibly show there is an agency relationship. See Dkt. No. 1.

       Traditional agency principles apply to claims under the TCPA alleging one defendant is

responsible for the activities of another entity. See e.g. In re DISH Network, LLC, 28 FCC Rcd

6574, 6584 (2013) (noting that defendants can be held vicariously liable for TCPA violations by

its representatives “under a broad range of agency principles including not only formal agency,

but also principles of apparent authority and ratification”). But Oliver fails to adequately plead

vicarious liability in her allegation regarding Defendants’ relationship:

       Upon information and belief, Defendant Ameridial directly participated in,
       directed, authorized, or ratified the conduct constituting the statutory violations
       alleged herein. Defendants both received the benefits of the calls and approved the
       making of such calls. On information and belief, Defendant Ameridial established
       and/or approved Defendant TTC Ameridial’s policies and practices, oversaw
       operations, and was directly involved in the business practices that violated the
       TCPA.

Id. at ¶ 9. This allegation is repeated in paragraph 14.

       As Cellco ruled, a complaint that fails to explain what theory of liability a plaintiff proceeds

under is too conclusory to satisfy Rule 8(a). 2013 U.S. Dist. LEXIS 139337 at *20. See also In

re marchFIRST Inc., 589 F.3d 901, 905 (7th Cir. 2009) (surviving dismissal requires pleading

                                                 27
“some facts that suggest a right to relief that is beyond the ‘speculative level.’”); Atkins v. City of

Chi., 631 F.3d 823, 831 (7th Cir. 2011) (“The fact that the allegations undergirding a plaintiff’s

claim could be true is no longer enough to save it.”).

        Oliver does not adequately explain her theory of Ameridial’s liability for calls made by

TTC-Ameridial. Dkt. No. 1, ¶¶ 3, 9, 14. Her allegations in the complaint lack details about

Ameridial’s involvement with TTC-Ameridial.            Id.   The pleadings do not allege facts or

circumstances to plausibly plead there is an agency relationship. See Dkt. No. 1. Nothing in the

complaint alleges a formal agency between Defendants, i.e. an actual agreement or contract.

Oliver similarly fails to allege that TTC-Ameridial cloaked Ameridial with the apparent authority

to originate or control the content of the calls. Nor are there allegations that Ameridial had actual

notice of the calls made by TTC-Ameridial and subsequently ratified those calls to further its

interests.

        Oliver also does not allege sufficient facts to tie Ameridial to the calls she received to

adequately plead vicarious liability. In Mauer v. American Intercontinental University, Inc., No.

16-cv-01473, 2016 U.S. Dist. LEXIS 120451 (N.D. Ill. Sep. 7, 2016), the defendants argued

dismissal of a TCPA class action, as plaintiff Mauer had not adequately tied the defendants to the

call she received. Id. at *1-2. The court denied defendants’ motion because plaintiff alleged

sufficient facts to demonstrate the plausibility of an agency relationship including: (1) existence

of a contract between the unnamed telemarketer and the defendants; (2) the calls she received

included an offer of educational services; (3) representatives offered similar educational services

when an individual affiliated with Mauer called the number back; and (4) within minutes the

individual received a call from defendants following a similar script. Id. at *8-10.




                                                  28
       Oliver does not plead similar factual allegations and concludes only that Ameridial

“directly participated in, directed, authorized, or ratified the conduct” of TTC-Ameridial and “both

received the benefits of the calls and approved the making of such calls.” Dkt. No. 5, ¶¶ 9, 14.

The complaint does not allege a contract between Defendants, a plausible connection between

Ameridial and the calls Oliver received from the content of the calls, or other information that

could support Oliver’s allegations to satisfy the minimum pleading standard of Rule 8(a). Id.

Oliver also fails to specify the “direct benefits” allegedly received by Ameridial. Id. at ¶ 14.

       Nor does Oliver allege that Ameridial is a seller. See Dkt. No. 5. The FCC has considered

how and when a “seller” could be vicariously liable for a call made “on behalf of” the seller within

the meaning of the TCPA. The FCC found that “on behalf of” liability turns on whether a

telephone solicitation is made on behalf of a seller. Mey v. Monitronics Int’l, Inc., 959 F. Supp.

2d 927, 933 (N.D. W. Va. 2013) (citing In re DISH Network, LLC, 28 FCC Rcd. at 6587) (“The

FCC Rule … defines the seller as the person ‘on whose behalf’ a telephone solicitation is made.”).

Oliver does not allege that TTC-Ameridial made calls soliciting the sale of goods or services on

behalf of Ameridial. See Dkt. No. 1. Because Oliver fails to sufficiently allege that Ameridial is

a seller, it cannot be held vicariously liable for calls made by TTC-Ameridial.

       Finally, Oliver has not alleged that TTC-Ameridial and Ameridial are the same entity.

Public records support that TTC-Ameridial and Ameridial are distinct legal entities. See Exhibits

B and C. As distinct legal entities, Oliver cannot attribute the actions of TTC-Ameridial to

Ameridial without an agency relationship, and Oliver fails to adequately plead such a relationship.

       Defendants are entitled to summary judgment as to Ameridial because Ameridial cannot

be held liable for the calls made by TTC-Ameridial.

VI.    CONCLUSION



                                                 29
       The outcome of this motion rests on the fact that Oliver lacks both constitutional and

prudential standing and this case should be dismissed for lack of subject-matter jurisdiction.

Oliver alleges nothing more than a bare procedural violation of the TCPA, divorced from any

concrete harm, and cannot satisfy the injury-in-fact requirement of Article III. Her interests are

not within the zone of interests intended to be protected by the TCPA, as TTC-Ameridial only

made telemarketing calls to Oliver after she provided her prior express written consent.

       Finally, this Court should dismiss the case against Ameridial because Ameridial cannot be

held liable for calls made by TTC-Ameridial. Oliver impermissibly lumps Defendants together,

fails to allege facts specific to Ameridial, provides no evidence to suggest there was an agency

relationship between TTC-Ameridial and Ameridial, and fails to show that the corporate veil

should be pierced. As there is no genuine dispute of material fact, Defendants are entitled to

judgment as a matter of law.



Dated: August 28, 2017               Respectfully submitted,

                                       /s/ Jeffrey S. Bunn

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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing on the following parties via the

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